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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         LAREDO DIVISION

    NATALIA GOMEZ                                               §
                                                                §
    v.                                                          §               CASE NO. 5:21-cv-133
                                                                §                JURY REQUESTED
    RHODES EXPRESS, LLC,                                        §
    AND COREY MANTEK RHODES                                     §

         DEFENDANT RHODES EXPRESS, LLC’S NOTICE OF REMOVAL OF ACTION
                            UNDER 28 U.S.C. § 1441(b)

           PLEASE TAKE NOTICE that Defendant, RHODES EXPRESS, LLC, hereby files this

Notice of Removal of Action Under 28 U.S.C. § 1441(a) to remove to this Court the state court

action described below:

                                                   BACKGROUND

           1.        Plaintiff NATALIA GOMEZ, a citizen of Texas residing in Webb County, Texas.1

           2.        Defendant COREY MANTEK RHODES (hereinafter “Corey”) is a citizen of

California.

           3.        Defendant RHODES EXPRESS, LLC (hereinafter “Rhodes Express”) is

incorporated in and has its primary place of business in Mississippi.

           4.        On or about August 30, 2021, the state action was filed in the 111th Judicial District

of Webb County, Texas under Cause No. 2021CVA001651D2; Natalia Gomez v. Rhodes Express

LLC, and Corey Mantek Rhodes.

           5.        Defendant Rhodes Express accepted service on September 8, 2021 and filed their

Original Answer on September 21, 2021.2 Defendant Rhodes Express files this Notice of Removal

within thirty days of Defendant Rhodes Express receiving notice of Plaintiff’s state court proceeding,

as required by 28 U.S.C. § 1446 (b).


1
    See Plaintiff’s Original Petition, attached as Exhibit A.
2
    See State Court Documents, attached as Exhibit B.
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        6.       Plaintiff’s Original Petition affirmatively asserts that she is seeking damages in

excess of $1,000,000.3 Therefore, Plaintiff is clearly seeking damages in excess of $75,000 as

required for this Court to have jurisdiction.4

        7.       Defendant has attached the required state court documents pursuant to 28 U.S.C. §

1446 (a).5

        8.       Venue is proper in this District, the Southern District of Texas, Laredo Division,

under 28 U.S.C. § 1441 (a) and 28 U.S.C. § 1446 (a) because this District and Division embrace

the place where the removed action is pending.

        9.       Defendant will promptly file a copy of this Notice of Removal with the Clerk of

the state court where the action is pending. Defendant made a demand for trial by jury in the state

court action.6

        10.      All Defendants who have been served and who have filed an answer consent to this

removal.

                                         BASIS FOR REMOVAL

        11.      The Federal Court's basic diversity jurisdiction extends to “all civil actions where

the matter in controversy exceeds the sum or value of $75,000, exclusive of interests and costs,

and is between... citizens of different States.”7 As set forth, this Court has original jurisdiction

over this civil action pursuant 28 U.S.C. § 1332 and the action may therefore be removed to this

Court pursuant to 28 U.S.C. § 1441(a) because:




3
  See Exhibit A.
4
  See 28 U.S.C. § 1332 and § 1441.
5
  State Court Documents, attached as Exhibit B.
6
  See State Court Documents, attached as Exhibit B.
7
  28 U.S.C. § 1332(a)(1); see e.g., Darden v. Ford Consumer Fin. Co., 200 F.3d 753, 755 (11th Cir. 2000).

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                 a.       It is a civil action between a citizen of Texas and a corporation of

                          Mississippi (both in incorporation and principal place of business) and

                          citizen of Mississippi; and

                 b.       It is a civil action wherein the amount in controversy exceeds the sum of

                          $75,000, exclusive of costs and interest.8

A.      Diversity of Citizenship

        12.      A civil case filed in state court may be removed by the defendant to Federal Court

if the case could have been brought originally in Federal Court.9 Diversity jurisdiction requires

complete diversity; every plaintiff must be diverse from every defendant.10 At the time of filing

this lawsuit, Plaintiff assets in its petition to be a citizen of the State of Texas; Defendant Corey

has citizenship in Mississippi; and Defendant Rhodes Express is incorporated in and has its

principal place of business in Mississippi. Therefore, on the face of the pleadings, there is

complete diversity of citizenship between Plaintiff and Defendants.

B.      Amount in Controversy

        13.      Removal is proper when there is complete diversity of citizenship between the true

parties to the lawsuit and the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000) exclusive of costs and interest.11

        14.      In De Aguilar v. Boeing Co.,12 the United States Fifth Circuit Court of Appeals held

that when a defendant removes such a case, the defendant then has the burden to prove that the

amount in controversy exceeds the jurisdictional amount.13 The De Aguilar Court went on to hold



8
  See Exhibit A.
9
  28 U.S.C. § 1332(a).
10
   28 U.S.C. § 1332; see e.g., Tapscott v. MS Dealer Service Corp., 77 F.3d 1353, 1359 (11th Cir.1996) (abrogated on
other ground by Cohen v. Office Depot, Inc., 204 F.3d 1069, 1076 (11th Cir. 2000) (overruling Tapscott on the issue
of calculating the amount in controversy in class action suits).
11
   28 U.S.C. § 1332(a).
12
   47 F.3d 1404 (5th Cir.1995).
13
   De Aguilar v. Boeing Co., 47 F.3d 1404, 1411 (5th Cir.1995).

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that to remand to state court, the plaintiff must establish as a matter of law that, if successful, it

would not be able to recover more than the jurisdictional amount.14

        15.      In determining whether the amount in controversy exceeds $75,000, courts must

consider the full litany of damages that a plaintiff is seeking, including statutory and punitive

damages.15 Specifically, the court must consider penalties, statutory damages, and punitive

damages in calculating the amount in controversy.16

        16.      As applied here, Defendants can meet this burden to prove that the amount in

controversy in this case exceeds the federal jurisdictional requirement of $75,000 based on the

language of Plaintiff’s Petition.17 As discussed above, Plaintiff’s Original Petition states she seeks

monetary relief over $1,000,000.18 Therefore, the evidence is sufficient for Defendants to meet

their burden to prove the amount in controversy removal requirement of $75,000.

                                               CONCLUSION

        17.      Based on diversity of citizenship and satisfaction of the amount in controversy

requirement, removal to Federal Court is proper.19 Plaintiff is a citizen of the State of Texas. Neither

of the named Defendants are citizens of the State of Texas. Diversity of citizenship is clear from the

pleadings and evidence.

        WHEREFORE PREMISES CONSIDERED, based on the Petitions, evidence and the

diverse citizenships of the proper parties, this Court therefore has original jurisdiction of this action

under 28 U.S.C. § 1332 and removal of the action to this Court is proper under 28 U.S.C. § 1441(a).




14
   Id.
15
   St. Paul Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253–55 (5th Cir. 1998).
16
   Id.
17
   See Exhibit A.
18
   Id.
19
   28 U.S.C. § 1332(a); Darden, 200 F.3d at 755.

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                                               Respectfully submitted,




                                              By: /s/ Larry J. Goldman
                                                    LARRY J. GOLDMAN
                                                    "Attorney in Charge"
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                                                    State Bar No. 08093450

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                                                      ATTORNEY FOR DEFENDANTS




                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing has been forwarded
to the following counsel of record in compliance with the Federal Rules of Civil Procedure on this
8th day of October, 2021.

Mr. Rolando Salinas
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                                                      /s/ Larry J. Goldman
                                                      LARRY J. GOLDMAN




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